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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                   Plaintiff,

      v.                              //         CRIMINAL NO. 1:12CR1-1
                                                     (Judge Keeley)

HARVEY BREWER,

                   Defendant.


                 ORDER ADOPTING REPORT AND RECOMMENDATION

      On March 8, 2012, the defendant, Harvey Brewer (“Brewer”),

filed a pro se motion to suppress evidence (dkt. no. 35). Pursuant

to 28 U.S.C. § 636(b)(1), the Court referred this matter to United

States     Magistrate      Judge   John    S.   Kaull   for   a    report      and

recommendation. On March 15, 2012, Magistrate Kaull issued an

Opinion    and    Report    and    Recommendation   (“R&R”)       in   which    he

recommended that Brewer’s motion be denied (dkt. no. 52). In the

R&R, Magistrate Kaull determined that Brewer is not entitled to

file any pro se motions because he is represented by counsel. He

also concluded that Brewer’s motion was untimely and had no legal

merit. Brewer filed objections to the R&R on March 21, 2012 (dkt.

no. 67).

      After conducting a de novo review, the Court concludes that

Brewer’s objections lack legal merit and ADOPTS the Report and

Recommendation in its entirety (dkt. no. 52). Accordingly, the
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USA v. HARVEY BREWER                                               1:12CR1-1

               ORDER ADOPTING REPORT AND RECOMMENDATION

Court DENIES Brewer’s pro se motion to suppress evidence (dkt. no.

35).

       It is so ORDERED.

       The Court DIRECTS the Clerk to transmit copies of this Order

to counsel of record.

DATED: March 22, 2012.


                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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